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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT                            §
 INC. et al.,                                    §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              § Civil Action No. 4:20-cv-00283-O
                                                 §
 XAVIER BECERRA et al.,                          §
                                                 §
        Defendants.                              §

                                             ORDER

       Final Judgment in this case was entered on March 30, 2023 (ECF No. 114). Defendants

filed their Notice of Appeal on March 31, 2023 (ECF No. 115). On April 12, Defendants filed their

Motion for Partial Stay of Judgment Pending Appeal (ECF No. 121). On April 13, 2023, the Court

expedited briefing on Defendants’ motion for a partial stay because Defendants requested a

response by April 20, 2023, which would permit Defendants the opportunity to file an emergency

motion in the Fifth Circuit requesting a stay.

       Now before the Court is Plaintiffs’ Motion for Extension of Time for Plaintiffs to File

Response to Motion for Stay Pending Appeal (ECF No. 124), filed April 17, 2023. The

Government takes no position on the motion, which requests a 24-hour deadline extension to file

Plaintiffs’ response to Defendants’ motion for a stay pending appeal. Having considered the

motion, the Court finds good cause to GRANT Plaintiffs’ reasonable request for a brief extension.

The Court therefore ORDERS Plaintiffs to respond no later than 11:59 p.m. CST on April 18,

2023. The Government may reply no later than April 19, 2023.

       The Court will take up Defendants’ motion as expeditiously as possible. However, if the

Court’s granting Plaintiffs’ reasonable request for an extension requires Defendants to seek
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emergency relief from the Fifth Circuit before this Court can resolve the motion to stay, Defendants

are within their right to do so.

        SO ORDERED this 17th day of April, 2023.


                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE




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